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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

ADAM APPEL, et al.,                                 )
                                                    )
       Plaintiffs,                                  )
                                                    )
v.                                                  )      Case No. 4:05CV-772SNL
                                                    )
THE CITY OF ST. LOUIS, et al.,                      )
                                                    )
       Defendants.                                  )

            MEMORANDUM IN SUPPORT OF MOTION TO QUASH THE
               DEPOSITION NOTICE OF MAYOR FRANCIS SLAY
           AND REQUEST FOR RECONSIDERATION OF THE DENIAL OF
                           MOTION TO DISMISS

       Plaintiffs seek to take the deposition of St. Louis Police Mayor Francis Slay on March 7,

2007. Mayor Slay is named as a defendant in his capacity as a member of the St. Louis Board of

Police Commissioners. Plaintiffs have not specified the capacity in which they seek to depose

Mayor Slay, whether solely as a member of the Board, or also as a witness, as mayor of

Defendant the City of St. Louis. Previously, Defendant Chief Mokwa moved to quash his

deposition, also scheduled March 7, 2007. That motion remains pending.

       For reasons set out below, substantially identical to those set forth by Chief Mokwa,

Mayor Slay moves to quash Plaintiffs’ notice of deposition. Mayor Slay also asks the Court to

reconsider defendants’ motion to dismiss with respect to him only.




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       1. Mayor Slay is a High-Ranking Official Entitled to a Protective Order Under
          Fed. R. Civ. P 26(c)(3)

       Because Mayor Slay is a high-ranking official, he should not have to submit to a

deposition unless the Plaintiffs can show why his deposition is specifically needed. Litigation as

a whole and especially discovery has become time-consuming and expensive, therefore a district

court judge has ample power to prevent “undue and uncontrolled discovery.” Herbert v. Lando,

441 U.S. 153, 176-177 (1979). In keeping with that goal, Federal Rule of Civil Procedure

26(c)(3) states that a court can enter a protective order upon a request of a party during discovery

to protect a person from annoyance, oppression, or undue burden or expense. Courts recognize

that in order to prevent such annoyance, oppression or undue burden or expense, high-ranking

government officials are entitled to special protections in the discovery process and cannot be

deposed absent a showing of specific need. See Bituminous Materials, Inc. v. Rice County,

Minnesota, 126 F.3d 1068, 1071 note 2 (8th Cir. 1997) (Deposition of county commissioners

barred although there were allegations of personal animus against the plaintiff); Sweeney v.

Bond, 699 F.2d 542, 546 (8th Cir. 1982), cert. denied, 459 U.S. 878 (1982) (Deposition of the

governor of Missouri barred absent showing by plaintiffs of specific need).

       In a similar Seventh Circuit case, a police superintendent was sued along with several of

his officers for alleged constitutional violations. The Seventh Circuit affirmed the decision of

the district court to bar the deposition of the superintendent at least until the plaintiff submitted

written interrogatories that would indicate what value deposing him would have. Olivieri v.

Rodriguez, 122 F.3d 406, 409 (7th Cir. 1997). As the Seventh Circuit stated, “[high-ranking

officials] should not have to spend their time giving depositions in cases arising out of the

performance of their official duties unless there is some reason to believe that the deposition will



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produce or lead to admissible evidence.” Id. at 409-410. Like the defendant in the Olivieri case,

the Mayor has many obligations on his time. Plaintiffs’ complaint fails to state how Mayor Slay

is liable, and the deposition notice does not give any indication as to what value there is in

deposing him. In short, the Plaintiffs have failed to show that Mayor Slay possesses information

that is essential to their case and cannot be obtained from another defendant. Mayor Slay asks

the court to grant him a protective order, so that he will only be obligated to be deposed if the

plaintiffs can show the court why it is necessary.

       2. Mayor Slay, as a member of the Board of Police Commissioners, should be
       Dismissed From This Lawsuit.

       The police department defendants previously moved for dismissal on June 29, 2005.

ECF Doc. 5. That motion was denied by this Court on December 14, 2005. ECF Doc. 44. For

the reasons set forth in Chief Mokwa’s motion requesting reconsideration of the motion to

dismiss as to him, which are equally applicable to Mayor Slay, Mayor Slay respectfully asks the

Court to reconsider the defendants’ motion to dismiss with respect to him.

                                             CONCLUSION

       Defendants respectfully request that this Court issue a protective order barring the

deposition of Mayor Slay, or alternatively grant the defendant’s motion to dismiss, and for such

other relief as this Court deems just.



                                              Respectfully submitted,

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                                              Attorney General

                                              /s/ Denise L. Thomas
                                              ____________________________
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                                              Assistant Attorney General



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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served up the
following parties via this Court=s electronic filing system this _27th day of February,
2007:

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